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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Christopher Irving,                  )
                                     )       22-CV-6599
       Plaintiff,                    )
                                     )       Honorable Andrea R. Wood
               v.                    )
                                     )       Magistrate Judge Heather K. McShain
Cook County Sheriff’s Office,        )
      et al.,                        )       JURY DEMANDED
                                     )
       Defendants.                   )

                DEFENDANTS’ MOTION FOR AN EXTENSION OF TIME
                      TO ANSWER OR OTHERWISE PLEAD

       Defendants Cook County Sheriff’s Office, Martha Yoksoulian, Erica Queen,

Esequiel Iracheta, Laneshia Pondexter, Patrick Fitzgerald, Daniel Lakowski, and Cook

County, (hereinafter “Defendants”), by their attorney KIMBERLY M. FOXX, State’s

Attorney of Cook County, through her assistant, Molly E. Boekeloo, pursuant to Federal

Rule of Civil Procedure 15(a)(3), respectfully moves this Court for an extension of time

up to and including February 10, 2023, to answer or otherwise plead to Plaintiff’s

Complaint. In support of this Motion, Defendants state the following:

       1.      Plaintiff filed his Complaint in this matter on November 23, 2022. (Dkt.

1).

       2.      On December 27, 2022, undersigned Counsel became aware of the case

and was assigned to represent the aforementioned Defendants.

       3.      The next day, on December 28, 2022, undersigned Counsel filed her

appearance on behalf of Defendants Cook County Sheriff’s Office, Martha Yoksoulian,
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Erica Queen, Esequiel Iracheta, Laneshia Pondexter, Patrick Fitzgerald, Daniel

Lakowski. (Dkt. 5).

       4.      On January 4, 2023, undersigned Counsel filed her appearance on behalf

of Defendant Cook County. (Dkt. 15).

       4.      Defendants request an enlargement of time to answer or otherwise plead

up to and including February 10, 2023.

       5.      This request for enlargement of time is made in good faith and not to delay

or prejudice Plaintiff. Rather, it is to allow undersigned counsel to properly:

               •       investigate Plaintiff’s allegations and claims;

               •       discuss this matter with Defendants;

               •       to attempt to contact Defendant Lobiancao regarding service and

               representation;

               •       to evaluate any potential conflicts of interest between Defendants;

               and,

               •       to and to prepare an answer or other responsive pleading to

               Plaintiff’s Complaint.

       6.      Additionally, due to previously scheduled vacations and commitments in

other cases, such as dispositive motion briefing in Saldana, Maria v CCHHS, (19 C

6178), Defendants require additional time to answer or otherwise respond to Plaintiff’s

Complaint.

       7.      This is Defendants’ first request for an extension of time to answer or

otherwise plead.




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       8.      On December 29, 2022, the parties corresponded regarding this Motion,

and Plaintiff is unopposed.

       9.      Defendants respectfully request that this Court grant this Motion for an

Extension of Time to Answer or Otherwise Plead.

       WHEREFORE, Defendants respectfully request that this Honorable Court grant

the following relief:

       (a) an enlargement of time up to and including February 10, 2023 to file an

            answer or otherwise plead; and,

       (b) to grant any other relief it deems necessary and just.

                                      Respectfully submitted,

                                              KIMBERLY M. FOXX
                                              State’s Attorney of Cook County

                                              /s/Molly E. Boekeloo
                                              Molly E. Boekeloo
                                              Assistant State’s Attorneys
                                              500 Richard J. Daley Center
                                              Chicago, Illinois 60602
                                              Molly.Boekeloo@cookcountyil.gov



                              CERTIFICATE OF SERVICE

       Molly E. Boekeloo hereby certifies that, in accordance with FED. R. CIV. P. 5. and
LR 5.5 and the General Order on Electronic Case Filing (ECF), the foregoing was served
pursuant to the District Court’s ECF system as to ECF filers on January 4, 2023.

                                                     /s/ Molly E. Boekeloo
                                                     Molly E. Boekeloo




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